          ST,ATE OF TENNESSEE, COUNTY OF MONTGOMERY .                                                                                         Case # MC'          C'D GS j C)(q•GU • 14q
                          To Any Lawful Ofricer To Execute and Return:                                           ~r           ``                       A{ WAs kkC~t-J
~                          Summon each Defendant to~pear before the Judge of the General Sessions Court.of                                                                                    ~              Plaintiff
                 0         1Vlontgomery County,`:on ` ~~"1MQ1' U"~iP                  , 20~_.: To be held`on, the ~                                  C{~ ,Jj~
                                                                                                                                                                               Or        u(          ~
                           2"d, floor of the Courts Center located at ` IVlillennium Plaza in Clarksville; en ` d -                                                                     t            Ad ress :
                           the `e to answer in ivil. action. brought by the Plaintiff(s) for ~ b/ ~b,J ~ ~                                       ~ 3~.~~ t{ ~-~~ ~
f                ~              A               eo,
                                                              ~,
                                                                            A       !
                                                                                      ~1    a   ~       Ano           tb~                                                                                      Phone
                                               ;                                        e                                                                                       vs.
          13neier~'i                    .                           as:w~
                                                                                                                                                                                                        Defendant
          Judgment for                                                                                                                          1~~~~ ~~ ~`lo~Slo                     ,~rL~4.~lA      64 3~3~`~
                against                                                                                                                                                                        ,..           Address
            W                                   plus interest at the rate of    % and cost of suit, for                                                               _.
                     which executiori may issue                                                                                                                                                         Defendant
                                                             '                                                                                                             .
            L~              Judgmerifentered by: ". Q Default O Agreement OTrial
                                                                                                                                                                                                             Address .
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                                                                                                                                                               Court,of General Sessions
                                                                                                                                                                Cheryl J. Castle, ierk
,                                   Costs- taxed to. ' O' Plaintiff                     O. Defendant
~                          • , •              ~                ~                                    .                                  in     Issued                                    I 9           , 20~.
     - Deferidant(s)                                   "
       court'arid admitted to jurisdiction of court.. This the '                                        day of                 ,.20           By                                an                , Deputy Clerk .
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    ~••                     ~              ,                        ,               .. .:
                                                                                                                                                 Millennium Plaza Suite 115, Clarksville, TN 37040
                                                                                        Judge                                                 Reset for
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            a                                                                                                                                             OAII Defendants
            W                                                                   _                                                             Eacept:


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          This•the                  day of                                                                 ~ 20:
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~                      .~  _ _00Cj                                              Judge                                                                                  r1
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                            "J                                                                                                                -~^-'~~               ~•                . i~~b
~                               •• f,~r ;~ s5         '        ~j
                                                                                                                                              Attorney for Defendant
                     If yo"u have a disability
                                          Case and3:19-cv-00154
                                                    require assistance, please contact
                                                                     Document    1-1 931-920-1844
                                                                                       Filed 02/15/19                                 Page 1 ofTelephone
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                          Case 3:19-cv-00154                           Document 1-1                       Filed 02/15/19                         Page 2 of 21 PageID #: 5
RON WASHINGTON
1492 MUTUAL DR
CLARKSVILLE, TN 37042
EQUIFAX
P.O. BOX 740256
ATLANTA GA 30374                                                                                          ~
9 JAN 2019
RE: SOCIAL SECURITY NUMBER                    -2156

To Whom it May Concern:

This. letter is my final communication in regarding the inaccurate entry being reported under
Public records for a bankruptcy reported by Federal Court in the file you maintain under my
social security number, also an inaccurate entry being reported for collection from Just Military
L(Monterey Collection).

 f have repeatedly asked for evidence to support your'reporting, for the public record bankruptcy
 reporting I sent you a letter dated Nov 16, 2016( See attachment) which was posted marked
 Nov 23 2018, then I sent another certified letter dated 6 Dec 2018(see attachment), which
 William Allen signed for the letter on Dec 19, 2018. Both documentation I requested that you
 validate the information on.the public record bankruptcy, I asked you to provide me with copies
 of. any documentatiori.bearing my signature; l.asked if that your company co'u.ld not provide such
 documents to delete this entry from my credit report, 1 further sentyou :a letter, from the :court`
 stating that they do not report to the credit bureau ( see attachment), I further filed a complaint
 with Consumer Financial Protection Bureau which was a negative response, I also further
 stated that'l do no consent to e-Oscar or any means of automated verification, which in return
 your company stated to me that the results of their investigation was verified by Lexis-Nexis,
 the entry on my credit report states that Federal Court furnish the information, which that is false
 information (see letter from court). In the letter signed for.on.19 Dec 2018 I stated that I again
 repeated asked for evidence to support your company reporting, again your company;is yet to
 provide me with copy of any viable evidence submitted by Federal Court substantiating their
 claims, furthermore I asked for your method of verification and your company have not
 complied, which is in ADDITIONAL violation of'the Fair Credit Reporting Act 611 (a)(7), I also
`asked for names, address and phone number of each person contacted about this account and
 yet again your company failed to provide all the above request.

For the inaccurate entry being reported under rriy social security for collections from Just MiJitary
L, I sent a certified letter signed for on.23 Dec 2018 by Keyin Ca,rvatt, in that letter, I provide a..
copy of a letter from the collection agency showing that my account number was
            8-078( see attachment) and that your company has the the account number listed
under my social security for this collection as        8078, which is inaccurate. According to
FCRA any item on my credit report must be removed if it is inaccurate, which I showed that this
account number for this collection was inaccurate and your company willfully, intentionally;



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                                                   ~~      ~ "
                                                                    „

     deliberately, violated law of FCRA, in the attached letter signed for 23 Dec 2018, I challenged
     the inaccurate account number, I asked your company to delete the entry off of my credit report
     wh,ich they fail to do, which again is in violation of FCRA SECTION 609

     Given that I believe you are acting in bad faith; and have not complied with the Fair Credit
     Reporting Acf 611(a)(7) and section 609 of. the Fair Credit Reporting Act, f have filed a Small
     Claims lawsuit against your company( see attached lawsuit)

     I have.maintained careful records of your actions, and you are now required to appear at
     Montgomery_Co General Sessions Court, 2 Millennium Plaza, Clarksville Tn 37040, court
     date 6 Feb 2019 at 9 am phone number (931) 648-5700

     I am seeking $25,000 for intentionally, grossly, willfully; deliberately, consciously, egregiously;
     maliciously and recklessly violated the laws of FCRA, 'Defarriation and Negligent Enablement of
     Identity Fraud,

      Prior. to our court date on Feb 6, 2019 if you should decide to correct both items on my credit ,
     report and.remove the negative and false items in questions, please contact me at the address
     below, and I will subsequently withdraw the lawsuit.,

     My contact information is as follows:

     Ron Washington
           -2156
     1492 Mutual Dr
,    Clarksville Tn.37042 .

     Cc: Consumer Financial Protection Bureau                               `
     Cc: Attorney General Office                                                  -
     Cc: Better Business Bureau




                                                                                                        ,
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         .   ..                               .      .                .               .    .       ..        .5
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         Case 3:19-cv-00154        Document 1-1          Filed 02/15/19   Page 4 of 21 PageID #: 7
Case 3:19-cv-00154   Document 1-1   Filed 02/15/19   Page 5 of 21 PageID #: 8
          RON WASHINGTON
    •:.                                                             .--                    .
          1492 MUTUAL DR, CLARKSVILLE TN 37042
          EQUIFAX
          P.O BOX 740256
          ATLANTA, GA 30374
                                 ,                                      ..
                                                                    ,-,      ,,.
          Nov ,16, 2018
          SSN          -2156


          To Whom It May Concern:.


          I have recently been informed that there is negative information reported by Federal Court in .
          the file you maintain under my Social Security number..Upon reviewing a copy of my credit
                                                                                            ,.
          report, I see an entry listing Chapter 13 Bankruptcy in 12/2012..


          I challenge the accuracy, compliance and reportability of this listing.


          Please vafidate this information with Federal Court . and provide rrie with: copies of.any
          documenfation associated wifh this account, bearing my signature. In the absence of any such
          documentation bearing my signature; I formally request that this information be immediately
          deleted from the credit file you maintain under my Social Security number.


          P.lease note that you have 30 days to complete this investigation, as per the Fair Credit
          Reporting Act Section 611(a)(1)(A),.and l am keeping careful records.of your actions, including
          your Method of Verification. I do not consent to e-Oscar or any means of automated verification.



:         Failure to respond satisfactorily within 30 days of receipt of this certified letter may result in .
          small claims legal action against your, company at my locai venue. I would be seeking a
.         minimum of. $1,000 in damages per violation for:


          *Defamation
          *Negligent Enablement of ldentity Fraud,




              Case 3:19-cv-00154         Document 1-1         Filed 02/15/19       Page 6 of 21 PageID #: 9
"Violation of the Fair Credit Reporting Act



My contact information is as follows:


Ron Washington
1492 Mutual Dr, Clarksville TN 37042
         -2156


P.S. please be aware that dependent upon your response; :l may be detailing' any'potential `
issues with your company'via an online public press.release,:.including:documentation of any
potential small claims action. I am also including a copy of my complaint to the organization

below:




   Case 3:19-cv-00154         Document 1-1      Filed 02/15/19     Page 7 of 21 PageID #: 10
        RON WASHINGTON
        1492 MUTUAL DR
        EQUIFAX
        P.O. BOX 740256
        ATLANTA GA 30374
    .   6:DEC 20.18
        RE: SOCIAL`SECURITY NUMBER:                    -2156

        To Whom It May Concern:

        This letter in response to your claim that FEDERAL COURT has verified that the account they             '
        are reporting under my name is accurate.

        Be advised that the description of the procedure used .to determine the :a.ccuracy. and
        completeness of the information is hereby requested; to be provided within fifteen (15) days of
        completion of your re-investigation.

        Additionally, please provide the name, address and telephone number of each person contacted
        regarding this alleged account.. I am formally requesting a copy of any documents provided .
        bearing my signature, showing that I have a legally binding contractual obligation to;show that I.
        have fled a chapter 13 bankruptcy or to pay them the exact amount claimed.::

        Any automated response or e-Oscar verification is unacceptable. I am requesting a
        reinvestigation AND your METHOD OF VERIFICATION.

        Be aware that I am making a final goodwill attempt to have you clear up this matter. The listed
        item is entirely inaccurate and incomplete, and represents a very.serious error in your: reporting. .

        I am maintainin.g a careful record of my communication: with you for the :'purpose.of ,filing a.
        complaint with the Consumer Financial Protection Bureau and the Attorney.General's office,
        should you continue in your non-compliance. I further remind you that, as in Wenger v.. Trans
        Union Corp., No 95-6445(C.D.CaI. Nov 14, 1995), you may be liable for your willful
        non-compliance

        Failure to respond satisfactorily within 30 days of receipt of this certifed letter:may`result in. a.
        small claims action against your company,.seeking $1;000 per violation.for:

        *Defamation
        *Negligent Enablement of Identity Fraud
.       *Violations of the Fair Credit Reporting Act

        My contact information is as follows:




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Case 3:19-cv-00154   Document 1-1   Filed 02/15/19   Page 9 of 21 PageID #: 12
                                ivu~~~c viaini~,i vr 1G1V1VGAACC
OFFICE OF TIIE CLERK                701 BROADWAY RM 170
MATTHEW T. LOUGHNEY                   NASHVII:LE, TN 37203; .                         (615)736-5584

                                            November 19, 2018
                                       t:



    Ron Washington
   ~ 1492 Mutual Drive
    Clarksville, TN 37042

    RE:   RON S WASHIlVGTON, SR
          CHERYL L WASHINGTON
          Bankruptcy Case Number. 3:12-bk-11035
          Bankruptcy Case Filing Date: 12/03/2012
           Credit- Report'lnquiry


    Dear Mr. Wasington,

        ~   AII bankruptcy case flings appear for 7-10 years from the date the case was filed
    on a credit report. Federal Law 15 U.S.C. §1681c, °Requirements relating to
    information contained in consumer reports," provides information regarding bankruptcy
    cases and what can be disclosed."
            Bankruptcy records are public records, and all ,information contained in them can
    be retrieved by anZrone, includinp credit reoorting agen_cies. The
                                                                     _ U S Bank~r ~ tw oir
    is not responsible for credit reports. Any disputes with a credit       a must be resolved
                                                                        gency
    by e debtor and that agency.
            If you wish to obtain a copy of documents filed in your case you may set up an
    account with www.pacer.gov, or you may. come to our office at the address indicated
    above. If you come to our office for copies; the price varies. If you print the documents,
    it ig $0.10.per page. If the Clerk prints the documents, it is $0.50 per page. The Clerk
    accepts exact cash, cashier's check or money order. Cashier's checks and money
    orders must be made payable to U.S. Bankruptcy Court.
            The following is additional information you requested from the public record:
    [insert]. If you have any further questions, please feel'free to contact us at 615-736-
    55.84.

    Thank you,

    Intake Department




       Case 3:19-cv-00154           Document
                                     8~g~~ - ,61-1    Filed 02/15/19   Page 10 of 21 PageID #: 13
                                                                                                                                          r
 EqvilFAx
  CREDIT FILE : December 20, 2018
)OConfirmation # 8354043737                                                                                                                                         D -o
                                                                                                                                                                    01 0
  Dear RON SHAR WASHINGTON:

  We are pleased to let you know that the results of the dispute you recently filed with Equifax are complete. Here are a                                           Dx
  few things to know about the process:
                                                                                                                                                                    o
  Were changes made to my credit report and what actions were taken?                                                                                                 ~
                                                                                                                                                                    9~
  Please see the following page(s) for more detailed information on your specific results.
  If we were able to make changes to your credit report based.on the information you provided, we have done so.
  Otherwise, we contacted the company reporting the information to Equifax for them to investigate your dispute.
  In this situation:

      *    We request that the reporting company verify the accuracy of the information you disputed;
      *    We provide them with any relevant information and supporting documentation you provided us with the
           dispute to consider as part of the investigation; and
      *    We request that they send Equifax a response to yourdispute and update their records and systems,
           as necessary.
  If your dispute involves a public record item, Equifax contacts a third party vendor,to obtain the most recent status of
 the public n:cord.

 How do I know that all of this is happening? .

 When the reporting company replies to us, they certify that they have followed Equifax's instructions and the law;
 considered all information and documentation provided; and updated your information, as necessary.
 What should I do if I do not agree with the results of the investigation?

 You have a few options:

      *    You may add a statement of up to 100 words (200 words for Maine residents) to your credit report. If you.provide a consumer statement that contains
           medical information related to services provided or medical procedures, then you expressly consent to including this information in every credit report we
           issue about you.
      *    You may contact the company that reports the information to us and dispute it directly with them. If you would like written proof about your accounts (such
           as the original agreement), please contact your creditors directly.
      *    You may provide us additional information or documents (such as an identity theft report or a letter from the reporting company) about your dispute to help
           us resolve it by visiting our website https://www.ai.equifax.com/Creditlnvestigation/home.action . You may also mail your documents to PO Box 740256,
           Atlanta GA 30348 or contact us by calling a Customer Representative at (888) 425-7961 from 9:00 a.m. to 5:00 p.m. Monday - Friday in your time zone.
      *    You may contact the Consumer Financial Protection Bureau or your State Attomey General's office about your issue or complaint against Equifax or the
           company reporting the information.
 ( Continued On Next Page )       Case 3:19-cv-00154           Document 1-1
                                                                          Page Filed
                                                                               1 of 4 02/15/19            Page 11 of 21 PageID #: 14
                                                                                                                              8354043737APPLADM-002715656- 3110 - 6753 -
How should.l read my dispute results?
To better assist you with understanding the results of your dispute,_please review the information below:
         '          If an item states "Deleted", we have removed it from your credit report and taken steps so it does not reappear.
         *          If an item states "Verified as Reported", the reporting company has certifed it is reporGng accurately.
         '          If an item states "Updated", we have updated one or more fields on the item based on information received from the reporting company.
Updated disputed account information only: The information you disputed has been updated.
Updated disputed account informafion. Additional account information was also updated: The information you disputed has.been updated as well as other
information on this item.
Disputed information accurate. Updated account information unrelated to the dispute: The information you disputed has been verified as accurate, however,
information unrelated to your dispute has been updated.
Consumer's dispute not specific. Consumer Information verified: Account information updated: Information on your report has been updated.

                                 .
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»> We have reviewed your concems and our conclusions are:
A discharged chapter 13 bankruptcy remains on the credit file for seven years from the date filed.




»> The lnfonnation you disputed has been received. Case or ID #-1211035 The results are: This bankruptcy is currentiy reporting as discharged. If you
have additional questions about this item please contact: TN FED Bk CT-Nashville, 701 Broadway Ste 160, Nashville TN 37203-3934 Phone: (615) 736-5584
  ..                                  ,:::.:
:.#%S BankTuptcY Cout~Nashvf~~ ::::::::::::::~1►t BROADWAYST~.lsp NASHtr141E, ~ 3Y2o3-39~44 (6f5) T36=558+t:
Case or ID k                                                                                                                Disposition                                                          Date Filed                                                                          Type                                    Rkr                              Current Disposition
1211035                                                                                                                     Wage Earner Plan Fied                                               12/2012                                                                              Personal                                Joint                            Discharged CH-13
Asset Amount                                                                    l.xempt Amount                                                                  Current Disposition Date                             Date Verified                           Date Reported                           Prior Disposition
                                                                                                                                                                12/07/2018                                          12/01/2018                              12/07/2018                               CH-13 Fied




                                                                          Case 3:19-cv-00154                                                    Document 1-1PageFiled
                                                                                                                                                                 3 of 4
                                                                                                                                                                        02/15/19                                                                        Page 12 of 21 PageID #: 15
( Continued On Next Page )                                                                                                                                                                                                                                                                                      8354043737APPLADM-002715656- 3110 - 6753 -
     Ron Washington
     1492.Mutual Dr,
     Clarksville TN, 37042
     Eq u ifax
     P.O. Box 740256
     Atlanta, Ga 30374
     19 Dec 2018

     RE: Social Security Number:            -2156

     To Whom It May Concern, :

     I am sending this correspondence via certified letter to your company, to;inform'you:that.your
     company are not reporting 100% accuracy to my credit report as per Section 60 of the Fair .
     Credit Reporting Act: I have a right to an accurate credit report, and only complete and accurate
     information should appear on my credit report. I am writing to inform you that missing or
     incomplete information is on my credit report for Monterey Collections Services. I am
     challenging that the account number on my credit report under my social security number for the
     above collection company is missing and/or incomplete information:

     Attached you will find a letter from the.above collection.company on their company letterhead
     which states that my account number is              8078 and your.corrapany are reporting the
     account number as           8078

     According to FTC opinion states by not reporting the entire account number, then your company
     are not reporting 100% accurate information as required by section 609. of the Fair Credif;
     R.eporting Act.

     I am writing to challenge the reporting and compliance on an account with Monterey Collections
     Services that is being reported on my credit report with incorrect%missing information, please
     verify this information by looking at the account number on the attached letter from the above
     collection.company to the account number your company have reported on my credit report for
..   this company.

     More specifically, I am referencing the fact that you .are reporting an incorrect; inaccurate, wrong
     account number.

     Your improper procedures are highly damaging to my credit score. Please immediately delete
     this item. If you failed to remove the item in question you will be willfully violating the Fair Credit
     Reporting Act.




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                                           ~~ F
    r

If you continue in your non-corripliance, I further remind you that as in Wenger v Trans Union
Corp No 95-6445 (C.D. Cal. Nov 14, 1995) you may be liable for your willful non=.compliance.
                                                 ..           .             .
                                                      .::. ...                   .
My contact _information is as follows:

Ron Washington
      -2156
1492 Mutual Dr
Clarksville TN 37042




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                  Monterey Collections                         TELEPHONE: (877) 775-3091
                  4095 Avenida de la Plata                           FAX: (760) 639-3541
                  Oceanside, Ca. 92056

 Monterey Financial Services, LLC



               THIS HAS BEEN SENT TO YOU BY A COLLECTION AGENCY



 Ron Washington                                                            December 13, 2018
 1492 Mutual Dr
 Clarksville, TN 37042

    rac 55048022
:A:
 ccountt#* i    8078

 Ron Washington,

 In response to your correspondence received, please note that per the FDCPA, you
 had 30 days from the date you were notified by Monterey Collections that your
 account had been placed with Monterey Collections, to request to dispute this debt.
 As a courtesy please find enclosed the necessary proof of debt that you requested.
 This is the second time that this information has been sent to you. Any future
 requests for the same information will not be responded to. It is your responsibility
 to contact our office at the toll-free number above to discuss resolution.


 Upon contact on the 315Y of October 2018 your account was initially marked as a
 disputed account. While the account has been marked as disputed, this defaulted
 contract balance for Just Military Loans remains due. Call our office today to set up
 the necessary arrangements to satisfy your obligation to the contract.

 Trusting this is satisfactory,


 Tore Washington
 Collections Representative
 Monterey Collection Services
 877-775-3091 x1625




  This is an attempt to collect a debt. Any information obtained will be used for that
                                        purpose.



        4095 Avenida De La Plata • Oceanside, CA 92056 • P.O. Box 5199, Oceanside, CA 92052
                                (760) 639-3500 • Fax (760) 639-3541
                               Web Site: www.montereyfnancial.com
      Case 3:19-cv-00154            Document 1-1   Filed 02/15/19    Page 15 of 21 PageID #: 18
                                         ~~T~
                                                                                                                                                                            •
                                                                                                                                                                            ~                .



ECqvIFaaC
CREDIT FILE : December 6, 2018                                                                                                                                Confirmation # 8340017855
                        ......... ,.....                                                                    ..:.::;._:....:.:,,:....:   P/ease address aU future correspondence to:
  ~erSonal::Id@ntt~'Icc'/t/Qn>/nfofmatl0f!
                                        ... . .: (This section i(icludes yourname,: curtent:and:previoils:'
                                                                                         ,..
  eddresses,apd:anyother.Fdentifyingrnfoimat~on.reportedbyyour.creditois.)                             :; .;:.:s.::::::
                                                                                                                                        ~         WWW.investigate.equifax.com
Name On File:                  Ron Shar Washington Sr                                                                                   .~
                                                                                                                                                  Equifax Information Services LLC
3ocial Security #              XXX-XX-2156     Date of Birth:            1973                                                                .~   PO Box 105285
Current Address:               1492 Mutual Dr, Clarksville, TN 37042 Reported: 12/2018                                                  ~r        Atlanta GA 30348
ALERT(s): Fraud Alert
                                                                                                                                        ~...~     (800) 377-6568
                                                                                                                                                  M- F 9:00am to 5:00pm in your time zone.
      ontact Information: Expiration Date: 02/14/2019 ; Date Reported: 11/16/2018 ;




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                                                                                                                                         .
      lonterey Collection Services; Collection Reported 11 /2018; Assigned 06/2017; Creditor Class - Financial; Original Creditor - Just Military Loans; Amount -$1,213 ; Status as of 11/2018
      Unpaid; Date of 1st Delinquency 10/2016; Balance as of 11/2018 -$2,719 ; Individual Account; Account #- 50        78; ADDITIONAL INFORMATION - Consumer Disputes This
      ,ccount Information; Address: 4095 Avenida De La Plata Oceanside CA 92056-5802 :(619) 599-1616 -
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                                               Case 3:19-cv-00154         Document 1-1              Filed 02/15/19                      Page 16 of 21 PageID #: 19
( Continued On Next Page )                                                                       Page 7 of 32                                               8340017855SB6-002714728- 1632 - 3237 - ASD
                              ,.                           .:, .::
  Credit Account1nformatron                                  :;:.:::::::.:' .:                    ~.; .               s               s'.                  ~:
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  Account Co/umn Tit/e Descriptions:
     Account Number - The Account number reported by credit grantor                                                                                                                   Amount Past Due - The Amount Past Due as of the Date Reported
   Date Acct. Opened - The Date that the credit grantor opened the account                                                                                                          Date of Last Paymnt - The Date of Last Payment
          High Credit - The Highest Amount Charged                                                                                                                                       Actual Pay Amt - The Actual Amount of Last Payment
                    Credit Limit - The Highest Amount Permitted                                                                                                                                 Sched Pay Amt - The Requested Amount of Last Payment
         Terms Duration - The Number of Installments or Payments                                                                                                           Date of 1 st Delinquency - The Date of First Delinquency
       Terms Frequency - The Scheduled Time Between Payments                                                                                                                    Date of Last Actvty - The Date of the Last Account Activity
       Months Reviewed - The Number of Months Reviewed                                                                                                                         Date Maj Delq Rptd - The Date the 1 st Major Delinquency Was Reported
      Activity Designator - The Most Recent Account Activity                                                                                                                                   Charge Off Amt - The Amount Charged Off by Creditor
            Creditor Class - The Type of Company Reporting The Account                                                                                                                  Deferred Pay Date - The 1 st Payment Due Date for Deferred Loans
           Date Reported - Date of Last Reported Update                                                                                                                                  Balloon Pay Amt - The Amount of Final(Balloon) Payment
          Balance Amount - The Total Amount Owed as of the Date Reported                                                                                                                 Balloon Pay Date - The Date of Final(Balloon) Payment
                   Status - Condition of Account When Last Updated by Creditor                                                                                                                Date Closed - The Date the Account was Closed
                                              or Otherwise
    AccountHistory                          1: 30-59 Days Past Due                                                                            5: 150-179 Days Past Due                                                                                                 J: Voluntary Surrender
                                            2: 60-89 Days Past Due                                                                            6: 180 or More Days Past Due                                                                                             K: Repossession
     Status Code           3: 90-119 Days Past Due                                    G: Collection Account                                                                                                                                                             L: Charge Off
     Descriptions          4: 120-149 Da s Past Due                                   H: Foreclosure
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  Al7dreN(S~CU::;;..:;~~91~4lfenfown RB Suitland MU:2D74fi~:4547. (301) 702;55fl0 . .    >;                 - _.::i:-`:2:T::`.c:'i„i::~:,i;:~'i::':e'a:::c                                                                                                                                                                                 ,:.::[ii":'[:;:_;::;:ci:o;::;..'::+:;'':''.~z:;t
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Account Number                                                       Date Opened        Hlgh Credit                  Credit Limit                         Terms Duration                  Terms Frequenr.y                                Months Revd              Actrvity Designator                                     Creditor Classifioation
                                                                     03/01/2009         $40,282                                                          84M                              Monthly                                               28                 Paid and Closed
Items As of            Balance                    Amount                       Date of            Actual                             Scheduled                         Date of ist               Date of                  Date Maj.               Charge Off                            Deferred Pay Balloon Pay                          Balloon                  Date
Date Reported          Amount                     Past Due                     Last Paymnt        Paymnt Amount                      Paymnt Amount                     Delinquency               LastActivity             Del. 1st Rptd           Amount                                Start Date   Amount                               Pay Date                 Closed
07/01 /2011            $0                                                      06/2011                                           $678                                                            06/2011                                                                                                                                                           06/2011
Status - Pays As Agreed; Type of Account - Installment; Type of Loan - Auto; Whose Account - Joint Account; ADDITIONAL INFORMATION - Closed or Paid Account2ero Balance;
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Account Number                                                       Date Opened        High Credit                  Credit Limit                        Terms Duration                   Terms Frequemy                                  Months Revd              Activity Designator                                     Creditor Classifloation
                                                                     03/01/2009         $6,640                                                           66M                              Monthly                                               16                 Paid and Closed
Items As ot            Balance                    Amount                       Date of .          Actual                             Scheduled                         Date of ist               Date of                 Date Maj.                Charge Off                           Deferred Pay Balloon Pay                           Balloon                  Date
Date Reported          Amount                     Past Due                     Last Paymnt        Paymnt Amount                      Paymnt Amount                     Delinquency               LastActivity            Del. 1st Rptd            Amount                               Start Date   Amount                                Pay Date                 Closed
07/01/2010 $0                                06/2010                     $126                       06/2010                                                         06/2010
Status - Pays As Agreed; Type of Account - Installment; Type of Loan - Auto; Whose Account - Joint Account; ADDITIONAL INFORMATION - Closed or Paid Account2ero Balance;




( Continued On Next Page )                                                                                                                                      Page 8 of 32                                                                                                     8340017855SB6-002714728- 1632 - 3237 - ASD

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 ■ Complete items ;#~-i»`a~rtd'3.
 ■ Print your name and Liaddress on the reverse                                         X Kevin Carv             a                            ❑ Agent ~
   so that we can return the card to you.                                                                                                     ❑ Adtlressee
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                                                                  Summary of your complaint

                                           !                      Complaint number: 181127-3654897
                                                                  Date submitted to CFPB: 11/27/2018
                                                                  Date sent to company: 12/Ol/2018
                                                                  Product: Credit reporting, credit repair services, or other personal consumer reports
                                                                  Issue: Incorrect informa,tion on your report ,

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      ®     Upgrade to Office                                     and provide a final response in 60 days.
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                     Case 3:19-cv-00154                              Document 1-1              Filed 02/15/19              Page 19 of 21 PageID #: 22
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Mail - Cheryl Washington - Outlook                                                                                                                               Page 1 of 1


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                                                       When we received your complaint, we forwarded it to the company for respc
                                                       We appreciate your participation in the complaint process. The CFPB has clos




                                                       How can I see the company's response?


                                                       You can log in to your Consumer Portal to review the company's response on
                                                       [porta I.consumerfina nce.gov/consumer/s/]https://portal.consumerfinance.g
                                                       or "click" the button to the right. You can also review the company's respons
                                                       with someone, just call us at (855) 411-2372, 8 a.m. -8 p.m. EST, Monday-Fri




                                                       Importont...lf you submitted this complaint on behalf of someone else or yoL
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                                                             Complaint                    ~ R¢vzsav                          ~ Company
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                                                       Summary of your complaint

                                                       Complaint number: 181127-3654897
                                                       Date submitted to CFPB: 11/27/2018
                                                       Date sent to company: 12/01/2018
 ~      Upgrade to Office                              Product: Credit reporting, credit repair services, or other personal consumer
        365 with premium
                                                       Issue: Incorrect information on your report
        Outlook features



                                                       Provide Feedback on the company's response                                                           1>


        Case 3:19-cv-00154                             Document 1-1                              L~I ~
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